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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
SAMANTHA ALARIO, et al., Lead Case No.
Plaintiffs, CV 23-36-M-DWM
and Member Case No.
TIKTOK INC., CV 23-61-M—-DWM
Consolidated Plaintiff, ORDER
Vs.

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

Defendant.

The following schedule is entered based on the parties’ filings. See Fed. R.

Civ. P. 16; (Docs. 122-25).

1. The following schedule will govern all further pretrial proceedings:
Deadline for Amending Pleadings: January 31, 2024

Expert Disclosures: May 31, 2024

Rebuttal Expert Disclosures: July 31, 2024

Discovery Deadline: September 16, 2024

Motions Deadline (including
motions in limine) (fully briefed): October 14, 2024

Attorney Conference to Prepare
Final Pretrial Order: week of November 18, 2024
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File Proposed Final Pretrial Order,

Proposed Findings of Fact/Conclusions

of Law, and Trial Briefs and e-mail

to dwm_propord@mtd.uscourts.gov

(Trial Briefs are optional): November 25, 2024

Notice to Court Reporter of
Intent to Use Real-Time: November 25, 2024

Notice to LT. Supervisor of

Intent to Use Electronic Exhibits

or Videoconferencing: November 25, 2024

Final Pretrial Conference

and Bench Trial: December 9, 2024, at 9:00 a.m.!
Russell Smith Federal Courthouse
Missoula, Montana

The Court will not continue the above deadlines absent compelling reasons.

The parties may stipulate to the extension of any of the above deadlines that

precede the motions deadline. The parties need not inform the Court of such

stipulations, and the Court will not issue an order to confirm or adopt such

stipulations. Parties seeking a continuance of the motions deadline or any

subsequent deadline must file a motion with the Court. Such motions will not

be granted absent compelling reasons, which do not include delay attributable

to the parties’ stipulated extensions.

' Pursuant to 18 U.S.C. § 3161(h) and Federal Rule of Criminal Procedure 50,
criminal matters take priority over civil matters in the event of a conflict.
Accordingly, all civil trial settings are subject to the Court’s criminal calendar.

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NOTE: In all documents filed with the Court, the parties shall not use any
acronyms or initialisms. Use of generative AI programs, such as Chat GPT, to
draft substantive legal or factual arguments is prohibited.
IT IS FURTHER ORDERED:
2. Local Rules and Electronic Filing. Parties are advised that revised Local
Rules for the District of Montana became effective December 1, 2023, and apply in
all cases pending when changes become effective. In addition, all counsel must
register and file electronically unless good cause can be shown. Fed. R. Civ. P.
5(d)(3)(A). Further information is available on the Court’s website,
www.intd.uscourts.gov, or from the Clerk’s Office. See also L.R. 1.4.
3. Amended Pleadings. A party seeking to amend the pleadings after the date
specified in paragraph 1 must show “good cause” for amendment under Federal
Rule of Civil Procedure 16(b)(4). Only when that showing has been made will the
Court consider whether amendment is proper under Federal Rule of Civil
Procedure 15.
4. Stipulations. Pursuant to Federal Rule of Civil Procedure 16(c)(2)(C), the
following facts are admitted and agreed upon:

A. Parties

a. Plaintiffs Samantha Alario, Alice Held, and Dale Stout are users of

the TikTok platform living in Missoula, Montana.
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b. Plaintiff Heather DiRocco is a user of the TikTok platform living in
Bozeman, Montana.

c. Plaintiff Carly Ann Goddard lived in Montana at the time this lawsuit
was filed, but now lives in the State of Florida.

d. _—_ Each of the Creator Plaintiffs has an account on the TikTok platform.

e. Each of the Creator Plaintiffs creates content in the form of videos on
various topics, which he or she uploads to his or her TikTok account.

f. Each of the Creator Plaintiffs also uses their TikTok accounts to
consume content from other creators.

g. As of December 21, 2023, Plaintiff Samantha Alario’s TikTok
account (@yourfavoritebikinimama) had at least 15,800 followers. As of
December 21, 2023, Plaintiff Samantha Alario’s Facebook account (user name:
Gemini Mountain Swimwear) had at least 1,600 followers. As of January 15,
2024, Plaintiff Samantha Alario’s Instagram account (user name: gemini_mtn_
swimwear) had at least 16,500 followers).

h. As of December 21, 2023, Plaintiff Alice Held’s TikTok account
(@mountainalice) had at least 217,700 followers. As of December 21, 2023,
Plaintiff Alice Held’s Instagram account (@mtn.alice) had 7,045 followers.

i. As of December 21, 2023, Plaintiff Dale Stout’s TikTok account

(@mt_guy) had at least 43,700 followers.
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j. As of December 21, 2023, Plaintiff Heather DiRocco’s TikTok
account (@ladydredknot) had at least 199,500 followers. As of December 21,
2023, Plaintiff Heather DiRocco’s Instagram account (@ladydredknot) had at least
23,100 followers. As of January 9, 2023, Plaintiff Heather DiRocco’s YouTube
account (@LadyDredknot) had 236 subscribers.

k. As of December 21, 2023, Plaintiff Carly Goddard’s TikTok account
(@carlygoddardd) had at least 110,400 followers. As of December 21, 2023,
Plaintiff Carly Goddard’s YouTube account (@carlygoddardd) had 196
subscribers. As of January 9, 2024, Plaintiff Carly Goddard’s Instagram account
(carlyanngoddard) had at least 6,854 followers.

1. TikTok Inc. is a California corporation, with its principal address in
Culver City, California.

m. ByteDance Ltd. is the ultimate parent corporation of TikTok Inc.

n. Defendant Austin Knudsen is the Attorney General of Montana,
which is the head of the Montana Department of Justice.

B. The TikTok Platform

O. TikTok is an online platform that enables users to create, share, and
view videos.

p. The TikTok platform allows users to create and upload videos.
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q. The TikTok platform allows creators to use sounds, filters, and special
effects in creating their videos.

r. The TikTok platform’s comment feature allows users to communicate
with other users by responding or reacting to a TikTok video.

S. The TikTok platform offers a “For You” page, which opens to a
collection of videos that is curated by TikTok’s recommendation system.

t. Users of the TikTok platform can also utilize the platform’s
“Following” page to watch videos from creators they have chosen to follow.

u. In addition to sharing and commenting on videos, TikTok users can,
among other things, like, and share creators’ videos, “tag” other users in
comments, use the platform’s “duet” and “stitch” tools to create new content that
incorporates and responds to content created by others, use the “TikTok LIVE”
feature to communicate live with others on the platform, and send direct messages
to one another.

v.  TikTok creators have the ability to earn money from creating content
on the platform—including through brand deals, live-streaming, and advertising
their businesses on the platform.

w. The TikTok platform was first launched globally in 2017 and re-

launched in the United States in August 2018.
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x. Users must agree to the TikTok platform’s Terms of Service and
Privacy Policy as a condition of accessing and using the platform.

y. TikTok Inc. has published Community Guidelines.

Z. TikTok Inc.’s Community Guidelines state, among other things, ““We
do not allow showing or promoting dangerous activities and challenges. This
includes dares, games, tricks, inappropriate use of dangerous tools, eating
substances that are harmful to one’s health, or similar activities that may lead to
significant physical harm.”

aa. TikTok Inc.’s Community Guidelines further state that “[c]ontent is
age-restricted if it shows activities that are likely to be imitated and may lead to
any physical harm. Content is ineligible for the [For You Feed] if it involves
activities that are likely to lead to moderate physical harm, or includes
professionals who are performing extreme sports and stunts that may endanger
others.”

bb. TikTok Inc.’s Community Guidelines further state that TikTok Inc.
“also appl[ies] warning information to this type of content.”

cc. TikTok Inc. publishes a quarterly Community Guidelines
Enforcement Report.

dd. The TikTok platform has users in Montana.

ee. TikTok Inc. has an account on the TikTok platform.
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ff On December 22, 2023, the U.S. Department of Justice filed a status
report in TikTok Inc. v. CFIUS, No. 20-1444 (D.C. Cir.), stating that TikTok Inc.
and the Committee on Foreign Investment in the United States “continue to be
involved in ongoing negotiations to determine whether th[e] case may be resolved
by mutual agreement.”

C. SB419

gg. SB 419 is titled “An Act Banning TikTok in Montana.”

hh. Defendant Knudsen testified in a legislative hearing involving SB

419,

ii. | SB 419 was sponsored in the Montana Senate by Senator Shelley
Vance.

jj. Senator Vance introduced SB 419 in the Montana Senate on February
20, 2023.

kk. |The Montana Senate Business, Labor and Economic Affairs
Committee held a hearing on SB 419 on February 27, 2023.

ll. | The Montana Senate passed SB 419 on March 2, 2023.

mm. The Montana House of Representatives Judiciary Committee held a
hearing on SB 419 on March 28, 2023.

nn. Atthe March 28, 2023, hearing, Senator Vance stated that the bill

“puts an end to China’s surveillance operation in Montana.”
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oo. At the same March 28, 2023, hearing, Attorney General Knudsen
stated, “TikTok is spying on Americans, period. TikTok is a tool of the Chinese
Communist Party. It is owned by a Chinese company, and under China law, if you
are based in China, you will cooperate with the Chinese Communist Party, period.”
Attorney General Knudsen also stated, “This is a business that is controlled by an
existential threat and enemy of the United States, and that’s China’s own words.
China considers America its largest enemy by their own military doctrines and
publications. They see a war with the United States as inevitable, and they’re
using TikTok as an initial salvo in that war.” Attorney General Knudsen further
stated, “[w]hen we’re talking about the First Amendment, what is the best way to
get your message, to get your free speech out there? It’s no longer to stand on an
apple cart in the public square and give a speech. It’s to get on social media. We
know that. The best way to spread your message is via social media.”

pp. Representative Neil Duram stated at the same hearing that “TikTok is
the music played by the Pied Piper to steal this generation’s heart and mind.”

qq. The Montana House of Representatives considered SB 419 at a floor
session on April 13, 2023.

tr. Representative Brandon Ler stated during the April 13, 2023, floor
session: “I believe it’s time we stand up to the Chinese and ban TikTok.”

Representative Ler further stated “we are facing a threat unlike any other from the
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Chinese Communist Party hiding behind TikTok where they can spy on Americans
by collecting personal information by keystrokes and even user locations. That’s
why I urge you to join me in voting yes on Senate Bill 419 to ban TikTok in
Montana. TikTok is a national security threat.”

ss. Representative Katie Sullivan stated during the same April 13, 2023,
floor session, “I don’t believe that this bill as written is taking privacy and security
seriously. We only have one company listed and we only have one country listed.
Why would we do that, why would we limit to one company and one country when
we know very well that [other] social media companies are doing the same thing?”

tt. | The Montana House of Representatives passed SB 419 on April 14,
2023.

uu. Governor Gregory Gianforte signed SB 419 into law on May 17,
2023. In a press release regarding the signing, he stated, “The Chinese Communist
party using TikTok to spy on Americans, violate their privacy, and collect their
personal, private, and sensitive information is well documented. Today, Montana
takes the most decisive action of any state to protect Montanans’ private data and
sensitive personal information from being harvested by the Chinese Communist
Party.”

vv. SB 419 has an effective date of January 1, 2024.

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ww. SB 419 provides, “Tiktok may not operate within the territorial
jurisdiction of Montana.”

xx. An “entity” violates SB 419 when any of the following occurs within
the territorial jurisdiction of Montana: “the operation of tiktok by the company or
users,” or “the option to download the tiktok mobile application by a mobile
application store.” SB 419 defines “entity” as “a mobile application store or
tiktok.”

yy. Anentity that violates SB 419 “is liable in the amount of $10,000 for
each discrete violation,” defined as “each time that a user accesses tiktok, is
offered the ability to access tiktok, or is offered the ability to download tiktok,”
and “‘is liable for an additional $10,000 each day thereafter that the violation
continues.”

zz. SB 419 is “void if tiktok is acquired by or sold to a company that is
not incorporated in any other country designated as a foreign adversary in 15
C.F.R. 7.4 at the time tiktok is sold or acquired.”

5. Cooperation and Proportionality. The lawyers and the parties are responsible
for securing the “just, speedy, and inexpensive determination” of this proceeding.

Fed. R. Civ. P. 1. Discovery is to be proportional to the reasonable needs of the

case. Fed. R. Civ. P. 26(b)(1).

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6. Discovery Exhibits. During discovery, deposition exhibits shall be numbered

seriatim. Numbers used for exhibits during depositions must be used at trial for the
same exhibit.

7. 30(b)(6) Depositions. Prior to any Rule 30(b)(6) deposition, the parties must
meet and confer to identify each person the organization will designate to testify
and the topic areas that will be addressed.

8. Foundation & Authenticity of Discovery Items. Pursuant to Federal Rule of
Civil Procedure 16(c)(2)(C), the parties stipulate to the foundation and authenticity
of all discovery items produced in pre-trial disclosure and during the course of
discovery. However, if counsel objects to either the foundation or the authenticity
of a particular discovery item, then counsel must make a specific objection to
opposing counsel, in writing, prior to the deadline for the close of discovery. Ifa
discovery item is produced and the producing party objects either to its foundation
or authenticity, the producing party shall so state, in writing, at the time of
production. This stipulation extends only to the document itself, not to foundation
for witnesses discussing the document at trial. All other objections are reserved for
trial. Failure to comply with this provision constitutes a waiver of any foundation

or authenticity objection at trial.

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9. Supplementation of Discovery Responses. Pursuant to Federal Rule of Civil
Procedure 26(e), the parties have an affirmative obligation to supplement all
discovery responses, as necessary, throughout the course of the litigation.
10. Discovery Disputes. Discovery disputes will be resolved through standard
motions practice. The Court does not entertain informal discovery resolution and
the parties should not contact chambers directly. Compare with Fed. R. Civ. P.
16(b)(3)(B)(v). Prior to filing a motion to compel discovery, counsel must advise
the client that the loser will pay the opposing party’s associated fees and costs. See
Fed. R. Civ. P. 37(a)(5). Counsel must certify its compliance with this requirement
in the motion. In addition, at the time the motion is fully-briefed, both parties shall
file affidavits with the Court detailing their known fees and costs associated with
the motion.
11. Experts. The parties informed the Court that they may engage experts in the
following areas:
Plaintiff: tailoring and technological concerns with implementing SB 419.
Defendant: technological concerns related to how TikTok collects, stores,
and accesses user data and feasibility of implementing SB 419.
Experts, if engaged, must be disclosed in accordance with the time limits set forth

in paragraph 1.

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12. Expert Disclosure.

(a) Retained or Specially Employed.

Each party is responsible for ensuring that expert reports for any witness
who is retained or specially employed to provide expert testimony in the case, or
whose duties as an employee of a party involve giving expert testimony, are
complete, comprehensive, accurate, and tailored to the issues on which the expert
is expected to testify. Expert reports must satisfy the specific requirements of
Federal Rule of Civil Procedure 26(a)(2)(B).

(b) Other Witnesses Who Will Present Expert Testimony.

With respect to those expert witnesses not required to provide a written
report, pursuant to Rule 26(a)(2)(C), a party must still serve a written disclosure,
identifying the evidence and stating:

(1) the subject matter on which the witness is expected to present
evidence under Federal Rule of Evidence 702, 703, or 705; and
(ii) a summary of the facts and opinions to which the witness is
expected to testify.

(c) Objections to the timeliness or sufficiency of a Rule 26(a)(2) report or
disclosure must be filed in the form of a motion within fourteen (14) days of the
disclosure date set forth in paragraph 1, or the objection will be deemed waived.

An inadequate report or disclosure may result in exclusion of the expert’s opinions

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at trial even though the expert has been deposed. In this regard, a treating
physician is not considered a retained expert witness unless the testimony offered
by the treating physician goes beyond care, treatment, and prognosis. Ifthe
treating physician’s testimony goes beyond care, treatment, and prognosis then
there must be full compliance with the disclosure requirements of Federal Rule of
Civil Procedure 26(a)(2)(B). All other objections to expert testimony may be
lodged according to general motion’s practice.

13. Rebuttal Experts. Any evidence intended solely to contradict or rebut
evidence on the same subject matter identified by another party as testimony or
evidence to be offered by a witness who is retained or specially employed to
provide expert testimony in the case or whose duties as an employee of a party in
the case involve giving expert testimony, must be disclosed within thirty (30) days
of the date set forth in paragraph 1 for expert disclosure. Fed. R. Civ. P.
26(a)(2)(D)(ii). The purpose of simultaneous liability expert disclosures is to
avoid “sand bagging” disclosures in an effort to force the opposing party to tip its
liability hand. Accordingly, a party may not file an expert rebuttal report on
liability unless the party has already filed its own liability expert report.

14. Supplementation of Incomplete or Incorrect Expert Reports. Supplemental
disclosures by a witness who is retained or specially employed to provide expert

testimony in the case or whose duties as an employee of a party in the case involve

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giving expert testimony, whose report or deposition is incomplete or incorrect,

through no fault of the proponent or expert witness, must be disclosed no later than
ninety (90) days before the date set for trial set forth in paragraph 1.

15. Motions. Pursuant to Federal Rule of Civil Procedure 16(b)(3)(A), all
dispositive motions, discovery motions, and motions in limine shall be fully
briefed by the date set forth in paragraph 1. “Fully briefed” means that the brief in
support of the motion and the opposing party’s response brief are filed with the
Court. If the parties can reach an agreement concerning the use of certain
confidential and financial commercial information there is no need to seek a
protective order from this Court. Unless the parties can show that a
negotiated and signed stipulation is insufficient to protect their interests, no
order of this Court will be forthcoming concerning protective orders.

16. Unopposed Motions. Unopposed motions shall be accompanied by a
proposed order, separate from the motion. The proposed order shall be filed under
the heading “Text of Proposed Order” and e-mailed to
dwm_propord@mtd.uscourts.gov. The proposed order shall be a Word document
and adhere to the standards set out in Standing Order No. DLC-13. Failure to
comply with this procedure will result in delayed resolution of the unopposed

motion.

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17. Hearings & Oral Arguments. Parties shall provide an alphabetized index of
cases expected to be referenced, with citations, to the Court Reporter immediately
prior to any oral argument or hearing. Unless otherwise directed, the parties shall
provide the courtroom deputy with any exhibits admitted during a hearing for
filing. This modifies D. Mont. L.R. 5.1(b)(3) as to hearings only. The parties are
still responsible for filing their own exhibits following trial.

18. Bench Trial. Bench trial of this case shall be conducted in Missoula,
Montana, before the Honorable Donald W. Molloy. Trial is anticipated to last
three days.

19. Attorney Conference for Trial Preparation. Ifthe case does not settle,
counsel for Plaintiff shall convene an attorneys’ conference during the week
indicated in paragraph 1, or before, to complete the Final Pretrial Order, to
exchange exhibits and witness lists, and to complete or plan for the completion of
all items listed in L.R. 16.4(b). The Final Pretrial Order shall comply with the
form prescribed by Federal Rule of Civil Procedure 26(a)(3)(A)(i)-(iii) and Local
Rule 16.4. Except for relevancy, objections to the use or designation of deposition
testimony are waived if they are not disclosed on the opposing party’s witness list,
and objections to exhibits are waived if they are not disclosed on the opposing

party’s exhibit list. See generally Forms D, E, and F, Local Rules Appendix C.

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20. Trial Exhibits.

(a) Counsel shall electronically exchange exhibits with opposing counsel
prior, to the final pretrial conference. Counsel must provide a binder of paper
copies of the exhibits upon request of opposing counsel.

(b) Each exhibit must show the number of the exhibit. If paper copies of
the exhibits are exchanged, the binders must bear an extended tab showing the
number of the exhibit. The exhibit list must identify those exhibits the party
expects to offer and those the party may offer if the need arises. Fed. R. Civ. P.
26(a)(3)(A)(iil); Form F, Local Rules Appendix C.

(c) Exhibits marked for use at trial that have not been numbered in
discovery shall be marked by Plaintiff using an agreed upon range of arabic
numbers and by Defendant using a different agreed upon range of arabic numbers.

(d) Each exhibit must be paginated, including any attachments thereto.

Exhibits shall not be duplicated. An exhibit may be used by either of the parties.

(e) Counsel shall file with the Court a thumb drive of the exhibits, as well
as one paper copy of the exhibits. The paper copy shall be formatted as described
in (b), above. The electronic files and paper copy shall be delivered to the
chambers of Judge Donald W. Molloy on or before the date of the final pretrial

conference.

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(f) Failure to comply with (a) through (e) above may result in the

exclusion of the exhibit at trial.

21. Final Pretrial Order. The parties shall file the proposed Final Pretrial Order
and e-mail a copy in Word format to dwm_propord@mtd.uscourts.gov, by the date
indicated in paragraph 1. Once filed and signed by the Court, the Final Pretrial
Order supersedes all prior pleadings and may not be amended except by leave of
court for good cause shown.

22. Final Pretrial Conference. Counsel for the parties shall appear before the
Court in chambers at Missoula, Montana, for the final pretrial conference on the
date and time set forth in paragraph 1. Each party should bring Judge Molloy’s
copy of its trial exhibits if not already delivered to chambers.

23. Trial Briefs. Trial briefs are optional but if filed must be received by the
Court by the date indicated in paragraph 1.

24. Expert Reports. The parties shall provide the Court with one thumb drive?
containing a PDF of the expert reports and Rule 26(a)(2)(C) disclosures for all
testifying expert witnesses at or before the final pretrial conference. The PDF shall
contain a table of contents with hyperlinks to each individual document. The

parties shall also provide a binder containing hard copies of the expert reports and

* Court policy requires that the thumb drive be brand new and not previously used.

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Rule 26(a)(2)(C) disclosures for all testifying expert witnesses. The documents
may be duplexed but must be individually tabbed and include a table of contents.
25. Proposed Findings of Fact & Conclusions of Law.
(a) The parties shall jointly prepare one copy of proposed Findings of
Fact upon which they agree, with citations to the record for each Finding of Fact.
Each party may also prepare a separate proposed Findings of Fact with citations to
the record for each Finding of Fact for matters upon which the parties cannot reach
agreement.
(b) The parties shall jointly prepare one copy of proposed Conclusions of
Law upon which they agree, with appropriate citations for each Conclusion of
Law. Each party may also prepare a separate proposed Conclusions of Law with
appropriate citations for each Conclusion of Law for matters upon which the
parties cannot reach agreement.
(c) By the date indicated in paragraph 1, the parties shall:
(1) _ file a copy of the Proposed Findings of Fact & Conclusions of
Law on CM/ECF;
(2) e-mail a copy in Word format to
dwm_propord@mtd.uscourts.gov; and
(3) provide a thumb drive copy containing hyperlinks to the

exhibits referenced therein. The thumb drive must not have been used before.

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26. Calling a Witness at Trial.

When a witness is called to testify at trial, counsel shall provide to the Clerk
of Court four (4) copies of a single page document, see Form I, Local Rules
Appendix C, providing the following information about the witness:

i) the full name and current address of the witness;

ii) a brief description of the nature and substance of the witness’s testimony;

lil) date witness was deposed or statement taken; and

iv) a listing of each exhibit to which the witness may refer during direct

day of April, 2024. SL

Donald W/M loy, District Judge
United, States District Court

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ee,

examination.

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DATED this 1 (

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